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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION



 RUSSELL, et al.,

                          Plaintiffs,
                                                          Civil Action No. 4:19-cv-226
 v.

 HARRIS COUNTY, TEXAS, et al.,

                          Defendants.



                  UNOPPOSED MOTION TO INTERVENE
  BY JUDGE CHUCK SILVERMAN IN HIS OFFICIAL CAPACITY AS A JUDGE OF
          THE 183RD DISTRICT COURT, HARRIS COUNTY, TEXAS


        Judge Chuck Silverman, in his official capacity as a judge of the 183rd District Court,

Harris County, Texas, and pursuant to Federal Rule of Civil Procedure 24, moves to intervene as

a defendant in the above-captioned action. In support of this Motion, Judge Chuck Silverman

relies on the following contemporaneously filed documents:

        1.      Memorandum in Support of Judge Chuck Silverman’s Motion to Intervene;

        2.      [Proposed] Order Granting Judge Chuck Silverman’s Motion to Intervene; and

        3.      Judge Chuck Silverman’s Notice of Opposition.

        For the reasons stated in this Motion and accompanying documents, Judge Chuck

Silverman respectfully requests that the Court grant this Motion to Intervene.




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                                              Respectfully Submitted,
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                                CERTIFICATE OF CONFERENCE

I hereby certify that I conferred with counsel for Plaintiffs and Defendants via email on June 23,

2020, regarding the substance of the foregoing document. Responses have been received and

neither plaintiffs nor defendants oppose Judge Silverman’s motion to intervene.

                                              /s/ G. Allan Van Fleet
                                              G. Allan Van Fleet


                                    CERTIFICATE OF SERVICE

I, G. Allan Van Fleet, hereby certify that on this the 24th day of June, 2020, a true and correct

copy of the foregoing document was transmitted using the CM/ECF system, which automatically

sends notice and a copy of the filing to all counsel of record.

                                              /s/ G. Allan Van Fleet
                                              G. Allan Van Fleet, P.C.




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